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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
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MICHAEL DARDASHTIAN, individually and
on behalf of COOPER SQUARE VENTURES,
LLC, NDAP, LLC and CHANNELREPLY, LLC 17 CV 4327 (LLS)

Plaintiffs,
-against-

DAVID GITMAN, JEREMY FALK, SUMMIT
ROCK HOLDINGS, LLC, ACCEL COMMERCE, DECLARATION OF
LLC, DALVA VENTURES, LLC, KONSTANTYN BARRY S. GUAGLARDI, ESQ.
BAGAEV, OLESKSIT GLUKHAREYV and
CHANNEL REPLY, INC.,
Defendants.
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I, Barry S. Guaglardi, Esq., hereby declare as follows:

1. lam admitted to practice in the United States District Court of New York and an
attorney of our firm responsible for handling this matter on behalf of the Plaintiffs.

2. Attached hereto is a true and accurate copy of the Plaintiffs’ Verified Complaint in
this matter as Exhibit A. \

Executed this August 11, 2017

 
 

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Barry\S. ihaglardi, Esq. (BSG2401)
Arturi, D’Argenio, Guaglardi & Meliti, LLP
Attorneys for Plaintiffs
